               Case: 4:24-cv-01316           Doc. #: 53       Filed: 10/02/24     Page: 1 of 10 PageID #: 569
                                                                                                                STAYED
                                      U.S. District Court
                            Southern District of Georgia (Brunswick)
                     CIVIL DOCKET FOR CASE #: 2:24−cv−00103−JRH−CLR

State of Missouri et al v. United States Department of Education et al     Date Filed: 09/03/2024
Assigned to: District Judge J. Randal Hall                                 Jury Demand: None
Referred to: Magistrate Judge Christopher L. Ray                           Nature of Suit: 899 Other Statutes:
Cause: 05:702 Administrative Procedure Act                                 Administrative Procedures Act/Review or
                                                                           Appeal of Agency Decision
                                                                           Jurisdiction: U.S. Government Defendant
Plaintiff
State of Missouri                                           represented by G. Todd Carter
                                                                           Brown, Readdick, Bumgartner, Carter, Strickland
                                                                           & Watkins, LLP
                                                                           P.O. Box 220
                                                                           5 Glynn Avenue
                                                                           Brunswick, GA 31521−0220
                                                                           912−264−8544
                                                                           Fax: 912−264−9667
                                                                           Email: tcarter@brbcsw.com
                                                                           LEAD ATTORNEY
                                                                           ATTORNEY TO BE NOTICED

                                                                           Joshua M. Divine
                                                                           Missouri Attorney General's Office
                                                                           P.O. Box 899
                                                                           Jefferson City, MO 65102
                                                                           573−751−8870
                                                                           Email: josh.divine@ago.mo.gov
                                                                           LEAD ATTORNEY
                                                                           PRO HAC VICE
                                                                           ATTORNEY TO BE NOTICED

                                                                           Reed C. Dempsey
                                                                           Missouri Attorney General's Office
                                                                           P.O. Box 899
                                                                           Jefferson City, MO 65102
                                                                           573−751−1800
                                                                           Email: Reed.Dempsey@ago.mo.gov
                                                                           PRO HAC VICE
                                                                           ATTORNEY TO BE NOTICED

Plaintiff
State of Georgia                                            represented by G. Todd Carter
TERMINATED: 10/02/2024                                                     (See above for address)
                                                                           LEAD ATTORNEY
                                                                           ATTORNEY TO BE NOTICED

                                                                           Stephen J. Petrany
                                                                           Georgia Department of Law
              Case: 4:24-cv-01316   Doc. #: 53    Filed: 10/02/24     Page: 2 of 10 PageID #: 570
                                                               40 Capitol Square, SW
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                                                               LEAD ATTORNEY
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED

                                                               Joshua M. Divine
                                                               (See above for address)
                                                               ATTORNEY TO BE NOTICED

Plaintiff
State of Alabama                                 represented by Edmund Gerard LaCour , Jr.
                                                                Alabama Attorney General's Office
                                                                501 Washington Avenue
                                                                P.O. Box 300152
                                                                Montgomery, AL 36130−0152
                                                                334−353−2196
                                                                Email: edmund.lacour@alabamaag.gov
                                                                LEAD ATTORNEY
                                                                PRO HAC VICE
                                                                ATTORNEY TO BE NOTICED

                                                               G. Todd Carter
                                                               (See above for address)
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                               Joshua M. Divine
                                                               (See above for address)
                                                               ATTORNEY TO BE NOTICED

Plaintiff
State of Arkansas                                represented by G. Todd Carter
                                                                (See above for address)
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

                                                               Dylan L. Jacobs
                                                               Office of the Arkansas Attorney General
                                                               323 Center Street
                                                               Suite 200
                                                               Little Rock, AR 72201
                                                               501−682−3661
                                                               Email: dylan.jacobs@arkansasag.gov
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED

                                                               Joshua M. Divine
                                                               (See above for address)
                                                               ATTORNEY TO BE NOTICED
               Case: 4:24-cv-01316   Doc. #: 53    Filed: 10/02/24    Page: 3 of 10 PageID #: 571
                                                               Nicholas J. Bronni
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                                                               Little Rock, AR 72201
                                                               501−682−2007
                                                               Email: nicholas.bronni@arkansasag.gov
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED

Plaintiff
State of Florida                                  represented by G. Todd Carter
                                                                 (See above for address)
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                                               James Hamilton Percival , II
                                                               Florida Attorney General's Office
                                                               The Capitol
                                                               Ste Pl−01f
                                                               Tallahassee, FL 32399−1050
                                                               850−414−3300
                                                               Email: james.percival@myfloridalegal.com
                                                               LEAD ATTORNEY
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED

                                                               Joshua M. Divine
                                                               (See above for address)
                                                               ATTORNEY TO BE NOTICED

Plaintiff
State of North Dakota                             represented by G. Todd Carter
                                                                 (See above for address)
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                                               Philip Axt
                                                               Office of North Dakota Attorney General
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                                                               Bismark, ND 58505
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                                                               Email: pjaxt@nd.gov
                                                               LEAD ATTORNEY
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED

                                                               Joshua M. Divine
                                                               (See above for address)
                                                               ATTORNEY TO BE NOTICED

Plaintiff
                Case: 4:24-cv-01316     Doc. #: 53    Filed: 10/02/24     Page: 4 of 10 PageID #: 572
State of Ohio                                        represented by G. Todd Carter
                                                                    (See above for address)
                                                                    LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED

                                                                    Thomas Elliot Gaiser
                                                                    Ohio Attorney General
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                                                                    30 E. Broad St.
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                                                                    Columbus, OH 43215
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                                                                    Email: Thomas.Gaiser@OhioAGO.gov
                                                                    LEAD ATTORNEY
                                                                    PRO HAC VICE
                                                                    ATTORNEY TO BE NOTICED

                                                                    Joshua M. Divine
                                                                    (See above for address)
                                                                    ATTORNEY TO BE NOTICED


V.
Intervenor
Erwin Rosenberg                                      represented by Erwin Rosenberg
                                                                    1000 W. Island Blvd.
                                                                    Apt. 1011
                                                                    Aventura, FL 33160
                                                                    PRO SE


V.
Defendant
United States Department of Education                represented by Simon Gregory Jerome
                                                                    DOJ−Civ
                                                                    1100 L St NW
                                                                    Suite 12306
                                                                    Washington, DC 20005
                                                                    202−445−4127
                                                                    Email: simon.g.jerome@usdoj.gov
                                                                    LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED

                                                                    Shannon Heath Statkus
                                                                    U.S. Attorney's Office − AUG
                                                                    P O Box 2017
                                                                    Augusta, GA 30901
                                                                    706−724−0517
                                                                    Fax: 706−724−7728
                                                                    Email: shannon.statkus@usdoj.gov
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                Case: 4:24-cv-01316             Doc. #: 53    Filed: 10/02/24       Page: 5 of 10 PageID #: 573
                                                                            Stephen Michael Pezzi
                                                                            U.S. Department of Justice
                                                                            Civil Division, Federal Programs Branch
                                                                            1100 L Street NW
                                                                            Washington, DC 20005
                                                                            202−305−8576
                                                                            Email: stephen.pezzi@usdoj.gov
                                                                            ATTORNEY TO BE NOTICED

Defendant
Miguel A. Cardona                                            represented by Simon Gregory Jerome
in his official capacity as Secretary, United                               (See above for address)
States Department of Education                                              LEAD ATTORNEY
                                                                            ATTORNEY TO BE NOTICED

                                                                            Shannon Heath Statkus
                                                                            (See above for address)
                                                                            ATTORNEY TO BE NOTICED

                                                                            Stephen Michael Pezzi
                                                                            (See above for address)
                                                                            ATTORNEY TO BE NOTICED

Defendant
President Joseph R. Biden, Jr.                               represented by Simon Gregory Jerome
in his official capacity as President of the                                (See above for address)
United States                                                               LEAD ATTORNEY
                                                                            ATTORNEY TO BE NOTICED

                                                                            Shannon Heath Statkus
                                                                            (See above for address)
                                                                            ATTORNEY TO BE NOTICED

                                                                            Stephen Michael Pezzi
                                                                            (See above for address)
                                                                            ATTORNEY TO BE NOTICED


 Date Filed          #   Docket Text

 09/03/2024         Ï1   COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF against All Defendants, filed
                         by State of Missouri, State of Georgia, State of Alabama, State of Arkansas, State of Florida, State
                         of North Dakota, State of Ohio. Filing Fee paid, $405.00, Receipt # AGASDC−3893723.
                         (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit
                         F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L, # 13
                         Exhibit M, # 14 Civil Cover Sheet) (gmh) (Attachment 4 replaced on 9/17/2024) (kjm).
                         (Attachment 6 replaced on 9/17/2024) (kjm). (Entered: 09/03/2024)

 09/03/2024         Ï2   Summonses Issued as to Joseph R. Biden, Jr., Miguel Cardona, U.S. Department of Education, U.S.
                         Attorney and U.S. Attorney General. (gmh) (Entered: 09/03/2024)

 09/03/2024         Ï3   RULE 26(f) ORDER. Signed by Magistrate Judge Benjamin W. Cheesbro on 9/3/2024. (gmh)
                         (Entered: 09/03/2024)
             Case: 4:24-cv-01316        Doc. #: 53       Filed: 10/02/24      Page: 6 of 10 PageID #: 574
09/03/2024     Ï4    MOTION for Leave to File Excess Pages by State of Georgia. Responses due by 9/17/2024.
                     (Attachments: # 1 Text of Proposed Order)(Carter, G.) (Entered: 09/03/2024)

09/03/2024     Ï5    MOTION for Preliminary Injunction , MOTION for Temporary Restraining Order re 1 Complaint
                     by State of Georgia. Responses due by 9/17/2024. (Carter, G.) Modified on 9/4/2024 (kjm).
                     (Entered: 09/03/2024)

09/03/2024     Ï6    MOTION to Seal Exhibits D and F by State of Georgia. Responses due by 9/17/2024.
                     (Attachments: # 1 Text of Proposed Order)(Carter, G.) (Entered: 09/03/2024)

09/03/2024     Ï7    MOTION for Leave to Appear Pro Hac Vice (Reed Dempsey) Receipt Number
                     AGASDC−3894257, Fee Amount $200, by State of Georgia. Responses due by 9/17/2024. (Carter,
                     G.) (Entered: 09/03/2024)

09/03/2024     Ï8    NOTICE of Filing Deficiency re 1 Complaint. Counsel are not entered in the case by pro hac vice
                     admission. After 14 days of noncompliance, a notice will be submitted to a judicial officer for
                     possible sanctions, to include dismissal. Compliance due by 9/17/2024. (Attachments: # 1 Pro Hac
                     Vice form) (gmh) (Entered: 09/03/2024)

09/03/2024     Ï9    MOTION for Leave to Appear Pro Hac Vice (Joshua Divine) Receipt Number
                     AGASDC−3894264, Fee Amount $200, by State of Georgia. Responses due by 9/17/2024. (Carter,
                     G.) (Entered: 09/03/2024)

09/03/2024    Ï 10   MOTION for Leave to Appear Pro Hac Vice (Stephen Petrany) Receipt Number
                     AGASDC−3894268, Fee Amount $200, by State of Georgia. Responses due by 9/17/2024. (Carter,
                     G.) (Entered: 09/03/2024)

09/03/2024      Ï    MOTIONS REFERRED: 6 MOTION to Seal Exhibits D and F, 5 MOTION to Stay re 1
                     Complaint,, MOTION for Preliminary Injunction MOTION for Temporary Restraining Order (thb)
                     (Entered: 09/03/2024)

09/03/2024      Ï    MOTIONS REFERRED: 9 MOTION for Leave to Appear Pro Hac Vice (Joshua Divine) Receipt
                     Number AGASDC−3894264, Fee Amount $200,, 10 MOTION for Leave to Appear Pro Hac Vice
                     (Stephen Petrany) Receipt Number AGASDC−3894268, Fee Amount $200,, 7 MOTION for Leave
                     to Appear Pro Hac Vice (Reed Dempsey) Receipt Number AGASDC−3894257, Fee Amount $200,
                     (thb) (Entered: 09/03/2024)

09/03/2024    Ï 11   NOTICE/MOTION for Hearing by State of Georgia re 5 MOTION to Stay re 1 Complaint,,
                     MOTION for Preliminary Injunction MOTION for Temporary Restraining Order (NOTICE
                     REQUESTING HEARING ON MOTION FOR TEMPORARY RESTRAINING ORDER) (Carter, G.)
                     Modified on 9/4/2024 (thb). (Entered: 09/03/2024)

09/03/2024    Ï 12   ORDER OF RECUSAL. Judge Lisa G. Wood recused. Case reassigned to Chief District Judge R.
                     Stan Baker for all further proceedings. Signed by Judge Lisa G. Wood on 9/3/2024. (csr) (Entered:
                     09/03/2024)

09/04/2024      Ï    MOTIONS REFERRED: 4 MOTION for Leave to File Excess Pages (thb) (Entered: 09/04/2024)

09/04/2024    Ï 13   NOTICE of Appearance by Simon Gregory Jerome on behalf of All Defendants (Jerome, Simon)
                     (Entered: 09/04/2024)

09/04/2024    Ï 14   Notice of Standing Order regarding cases pending before Chief Judge R. Stan Baker. (Click Here to
                     View). (gmh) (Entered: 09/04/2024)

09/04/2024    Ï 15   ORDER REASSIGNING CASE. Case reassigned to District Judge J. Randal Hall for all further
                     proceedings. Chief District Judge R. Stan Baker no longer assigned to case. Signed by Chief
                     District Judge R. Stan Baker on 09/04/2024. (jlh) (Entered: 09/04/2024)
             Case: 4:24-cv-01316         Doc. #: 53      Filed: 10/02/24       Page: 7 of 10 PageID #: 575
09/04/2024      Ï    Motions No Longer Referred: 4 MOTION for Leave to File Excess Pages. (thb) (Entered:
                     09/04/2024)

09/05/2024    Ï 16   MOTION for Leave to Appear Pro Hac Vice (Philip Axt) Receipt Number AGASDC−3895445,
                     Fee Amount $200, by State of Georgia. Responses due by 9/19/2024. (Carter, G.) (Entered:
                     09/05/2024)

09/05/2024    Ï 17   ORDER granting 4 Plaintiffs' Motion for Leave to File Excess Pages; granting 5 Plaintiffs' Motion
                     for TRO. This Order shall be EFFECTIVE IMMEDIATELY and will remain in effect for
                     FOURTEEN DAYS, unless extended by Order of this Court. A hearing on this matter is scheduled
                     for Wednesday, September 18, 2024, at 10:00 a.m. Defendants shall file any response to Plaintiffs'
                     motion by 5:00 p.m. on Tuesday, September 10, 2024, and Plaintiffs shall file any reply by 5:00
                     p.m. on Friday, September 13, 2024. Signed by District Judge J. Randal Hall on 9/5/2024. (gmh)
                     (Entered: 09/05/2024)

09/05/2024    Ï 18   NOTICE of Hearing on Motion via videoconference re 5 MOTION for Temporary Restraining
                     Order: Motion Hearing set for 9/18/2024 10:00 AM in AUG−DistVTC before District Judge J.
                     Randal Hall. (gmh) (Entered: 09/05/2024)

09/05/2024      Ï    Set/Reset Deadlines as to 5 Motion for TRO: Defendants' Response due by 5:00 p.m., 9/10/2024.
                     (gmh) (Entered: 09/05/2024)

09/05/2024    Ï 19   MOTION for Leave to Appear Pro Hac Vice (T. Elliot Gaiser) Receipt Number
                     AGASDC−3895467, Fee Amount $200, by State of Georgia. Responses due by 9/19/2024. (Carter,
                     G.) (Entered: 09/05/2024)

09/05/2024      Ï    MOTIONS REFERRED: 19 MOTION for Leave to Appear Pro Hac Vice (T. Elliot Gaiser)
                     Receipt Number AGASDC−3895467, Fee Amount $200. (csr) (Entered: 09/05/2024)

09/05/2024      Ï    MOTIONS REFERRED: 16 MOTION for Leave to Appear Pro Hac Vice (Philip Axt) Receipt
                     Number AGASDC−3895445, Fee Amount $200, (pts) (Entered: 09/05/2024)

09/05/2024    Ï 20   MOTION for Leave to Appear Pro Hac Vice (Edmund G. LaCour) Receipt Number
                     AGASDC−3896067, Fee Amount $200, by State of Georgia. Responses due by 9/19/2024. (Carter,
                     G.) (Entered: 09/05/2024)

09/06/2024    Ï 21   NOTICE of Filing Deficiency re: 20 MOTION for Leave to Appear Pro Hac Vice (Edmund G.
                     LaCour). After 2 days a notice of noncompliance will be submitted to a judicial officer. Compliance
                     due by 9/8/2024. (csr) (Entered: 09/06/2024)

09/06/2024    Ï 22   NOTICE by State of Georgia re 18 Notice of Hearing on Motion by Electronic Means (Notice of
                     Agreement to Conduct Hearing in Person) (Carter, G.) (Entered: 09/06/2024)

09/06/2024    Ï 23   MOTION for Leave to Appear Pro Hac Vice (James Percival) Receipt Number
                     AGASDC−3896471, Fee Amount $200, by State of Georgia. Responses due by 9/20/2024. (Carter,
                     G.) (Entered: 09/06/2024)

09/06/2024    Ï 24   MOTION to Amend/Correct 20 MOTION for Leave to Appear Pro Hac Vice (Edmund G. LaCour)
                     Receipt Number AGASDC−3896067, Fee Amount $200, by State of Georgia. Responses due by
                     9/20/2024. (Carter, G.) (Entered: 09/06/2024)

09/06/2024      Ï    MOTIONS REFERRED: 24 MOTION to Amend/Correct 20 MOTION for Leave to Appear Pro
                     Hac Vice (Edmund G. LaCour) Receipt Number AGASDC−3896067, Fee Amount $200, 23
                     MOTION for Leave to Appear Pro Hac Vice (James Percival) Receipt Number
                     AGASDC−3896471, Fee Amount $200, 20 MOTION for Leave to Appear Pro Hac Vice (Edmund
                     G. LaCour) Receipt Number AGASDC−3896067, Fee Amount $200. (csr) (Entered: 09/06/2024)

09/09/2024    Ï 25
             Case: 4:24-cv-01316         Doc. #: 53      Filed: 10/02/24       Page: 8 of 10 PageID #: 576
                     ORDER granting 10 Motion for Leave to Appear pro hac vice for Attorney Stephen J. Petrany.
                     Signed by Magistrate Judge Christopher L. Ray on 09/09/2024. (jlh) (Entered: 09/09/2024)

09/09/2024    Ï 26   NOTICE of Appearance by Stephen Michael Pezzi on behalf of All Defendants (Pezzi, Stephen)
                     (Entered: 09/09/2024)

09/09/2024    Ï 27   ORDER granting 19 Motion for Leave to Appear pro hac vice for Attorney Thomas Elliot Gaiser.
                     Signed by Magistrate Judge Christopher L. Ray on 09/09/2024. (jlh) (Entered: 09/09/2024)

09/09/2024    Ï 28   ORDER granting 16 Motion for Leave to Appear pro hac vice for Attorney Philip Axt. Signed by
                     Magistrate Judge Christopher L. Ray on 09/09/2024. (jlh) (Entered: 09/09/2024)

09/09/2024    Ï 29   ORDER granting 23 Motion for Leave to Appear pro hac vice for Attorney James H. Percival, II.
                     Signed by Magistrate Judge Christopher L. Ray on 09/09/2024. (jlh) (Entered: 09/09/2024)

09/09/2024    Ï 30   ORDER granting 7 Motion for Leave to Appear Pro Hac Vice as to Reed C. Dempsey. Signed by
                     Magistrate Judge Christopher L. Ray on 9/9/2024. (amd) (Entered: 09/09/2024)

09/09/2024    Ï 31   ORDER granting 20 Motion for Leave to Appear Pro hac vice; granting 24 Motion to
                     Amend/Correct for attorney Edmund LaCour, Jr. Signed by Magistrate Judge Christopher L. Ray
                     on 9/9/24. (wwp) (Entered: 09/09/2024)

09/09/2024    Ï 32   ORDER granting 9 Motion for Leave to Appear pro hac vice for Attorney Joshua M. Divine.
                     Signed by Magistrate Judge Christopher L. Ray on 09/09/2024. Modified on 9/9/2024 (jlh).
                     (Entered: 09/09/2024)

09/10/2024    Ï 33   NOTICE of Appearance by Shannon Heath Statkus on behalf of Joseph R. Biden, Jr, Miguel A.
                     Cardona, United States Department of Education. (Statkus, Shannon) Modified on 9/10/2024 (csr).
                     (Entered: 09/10/2024)

09/10/2024    Ï 34   MOTION for Leave to File Excess Pages by Joseph R. Biden, Jr, Miguel A. Cardona, United States
                     Department of Education. Responses due by 9/24/2024. (Attachments: # 1 Text of Proposed
                     Order)(Pezzi, Stephen) (Entered: 09/10/2024)

09/10/2024    Ï 35   RESPONSE in Opposition re 5 MOTION to Stay re 1 Complaint,, MOTION for Preliminary
                     Injunction MOTION for Temporary Restraining Order filed by Joseph R. Biden, Jr, Miguel A.
                     Cardona, United States Department of Education. (Attachments: # 1 Exhibit 1, # 2 Exhibit
                     2)(Jerome, Simon) (Entered: 09/10/2024)

09/10/2024    Ï 36   ORDER granting 34 Motion for Leave to File Excess Pages. The response shall be no more than 32
                     pages. Signed by District Judge J. Randal Hall on 9/10/2024. (amd) (Entered: 09/10/2024)

09/10/2024    Ï 37   MOTION to Dismiss for Improper Venue by Joseph R. Biden, Jr, Miguel A. Cardona, United
                     States Department of Education. Responses due by 9/24/2024. (Pezzi, Stephen) (Entered:
                     09/10/2024)

09/10/2024    Ï 38   MOTION for Clarification of Temporary Restraining Order re 17 Order on Motion for Leave to
                     File Excess Pages,,, Order on Motion to Stay,,, Order on Motion for Preliminary Injunction,,, Order
                     on Motion for TRO,, by Joseph R. Biden, Jr, Miguel A. Cardona, United States Department of
                     Education. Responses due by 9/24/2024. (Attachments: # 1 Text of Proposed Order)(Jerome,
                     Simon) (Entered: 09/10/2024)

09/11/2024    Ï 39   MOTION for Leave to Appear Pro Hac Vice (Dylan L. Jacobs) Receipt Number
                     AGASDC−3900403, Fee Amount $200, by State of Georgia. Responses due by 9/25/2024. (Carter,
                     G.) (Entered: 09/11/2024)

09/11/2024    Ï 40   MOTION for Leave to Appear Pro Hac Vice (Nicholas J. Bronni) Receipt Number
                     AGASDC−3900407, Fee Amount $200, by State of Georgia. Responses due by 9/25/2024. (Carter,
             Case: 4:24-cv-01316         Doc. #: 53       Filed: 10/02/24       Page: 9 of 10 PageID #: 577
                     G.) (Entered: 09/11/2024)

09/11/2024      Ï    MOTIONS REFERRED: 39 MOTION for Leave to Appear Pro Hac Vice (Dylan L. Jacobs)
                     Receipt Number AGASDC−3900403, Fee Amount $200, 40 MOTION for Leave to Appear Pro
                     Hac Vice (Nicholas J. Bronni) Receipt Number AGASDC−3900407, Fee Amount $200 (thb)
                     (Entered: 09/11/2024)

09/12/2024    Ï 41   ORDER granting re 39 Motion for Leave to Appear Pro Hac Vice for Dylan L. Jacobs. Signed by
                     Magistrate Judge Christopher L. Ray on 9/12/24. (loh) (Entered: 09/12/2024)

09/12/2024    Ï 42   ORDER granting re 40 Motion for Leave to Appear Pro Hac Vice for Nicholas J. Bronni. Signed
                     by Magistrate Judge Christopher L. Ray on 9/12/24. (loh) (Entered: 09/12/2024)

09/13/2024    Ï 43   RESPONSE to 6 MOTION to Seal Exhibits D and F filed by State of Georgia filed by Joseph R.
                     Biden, Jr, Miguel A. Cardona, United States Department of Education. (Jerome, Simon) (Entered:
                     09/13/2024)

09/13/2024    Ï 44   Consent MOTION for Leave to File Excess Pages by State of Alabama, State of Arkansas, State of
                     Florida, State of Georgia, State of Missouri, State of North Dakota, State of Ohio. Responses due
                     by 9/27/2024. (Attachments: # 1 Text of Proposed Order)(Divine, Joshua) (Entered: 09/13/2024)

09/13/2024    Ï 45   MEMORANDUM in Support re 5 MOTION to Stay re 1 Complaint,, MOTION for Preliminary
                     Injunction MOTION for Temporary Restraining Order and Response to Defendants'Motions to
                     Dismiss and Clarify filed by State of Alabama, State of Arkansas, State of Florida, State of
                     Georgia, State of Missouri, State of North Dakota, State of Ohio. (Divine, Joshua) (Entered:
                     09/13/2024)

09/16/2024    Ï 46   REPLY to Response to Motion re 37 MOTION to Dismiss for Improper Venue filed by Joseph R.
                     Biden, Jr, Miguel A. Cardona, United States Department of Education. (Pezzi, Stephen) (Entered:
                     09/16/2024)

09/17/2024    Ï 47   ORDER denying 6 Motion to Seal Exhibits. Signed by Magistrate Judge Christopher L. Ray on
                     9/17/2024. (kjm) (Entered: 09/17/2024)

09/18/2024    Ï 48   Minute Entry for proceedings held before District Judge J. Randal Hall: Motion Hearing held on
                     9/18/2024 re 5 Motion for Preliminary Injunction, 37 MOTION to Dismiss for Improper Venue 38
                     MOTION for Clarification of Temporary Restraining Order. (Court Reporter Lisa Davenport.)
                     (lcw) (Entered: 09/19/2024)

09/19/2024    Ï 49   ORDER that the 17 Temporary Restraining Order shall be extended for an additional fourteen days
                     from the date of this Order for the purpose of the Court's review of briefs and arguments held on
                     September 18, 2024 and to issue an Order addressing the pending motions. Signed by District
                     Judge J. Randal Hall on 09/19/2024. (jlh) (Entered: 09/19/2024)

09/20/2024    Ï 50   MOTION to Intervene by Erwin Rosenberg. Responses due by 10/4/2024. REFERRED to Judge
                     Christopher L. Ray.(kjm) (Entered: 09/20/2024)

09/20/2024      Ï    Motions No Longer Referred: 50 MOTION to Intervene (lcw) (Entered: 09/20/2024)

09/21/2024    Ï 51   NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Motions Proceedings held on 9/18/2024,
                     before Judge JRH. Court Reporter/Transcriber Lisa Davenport, Telephone number 706−823−6468.
                     Tape Number: FTR. Transcript may be viewed at the court public terminal or purchased through
                     the Court Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                     date it may be obtained through PACER. (Transcript Redaction Policy Issued or Click here to view
                     Transcript Redaction Policy) Redaction Request due 10/15/2024. Redacted Transcript Deadline set
                     for 10/22/2024. Release of Transcript Restriction set for 12/20/2024. (Davenport, Lisa) (Entered:
                     09/21/2024)
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10/02/2024     Ï 52   ORDER granting in part 37 Motion to Dismiss. Georgia shall be DISMISSED as a party to this
                      suit. Further, the Clerk is DIRECTED to TRANSFER this case to the United States District Court
                      for the Eastern District of Missouri. Signed by District Judge J. Randal Hall on 10/2/2024. (gmh)
                      (Entered: 10/02/2024)
